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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  Defense Distributed,                       No. 3:19-cv-4753
  Second Amendment Foundation, Inc.,         No. 3:21-cv-9867
                    Plaintiffs,

                   v.

  Matthew J. Platkin, Acting New Jersey
  Attorney General,
                    Defendant.


                          Plaintiffs’ Brief in Support of
         Plaintiffs’ Motion to Grant the Fifth Circuit’s Return Request


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                                PROCEDURAL POSTURE

        Until recently, the Court had before it both case numbers 3:19-cv-4753 and

 3:21-cv-9867. But now the Court has before it only case number 3:21-cv-9867.

        Case number 3:19-cv-4753 was originally filed in this Court. Case number

 3:21-cv-9867 was originally filed in the United States District Court for the Western

 District of Texas and later transferred here. See Case No. 3:21-cv-9867, ECF No.

 58 at 2. An administrative consolidation of the cases occurred, see Case No. 3:21-

 cv-9867, ECF No. 159, 1 but was abrogated when one of the cases was dismissed.

 Specifically, all plaintiffs in case number 3:19-cv-4753 invoked Federal Rule of

 Civil Procedure 41(a)(1)(A)(i) to dismiss that action without prejudice. See Case

 No. 3:19-cv-4753, ECF No. 60. That dismissal took effect immediately and without

 the need for court order. See Fed. R. Civ. P. 41(a)(1)(A)(i). Thus, the only case

 before this Court is case number 3:21-cv-9867—the one transferred from Texas.

        The claims against the AG in this Court are exactly the same as those in Texas.

 This case’s live complaint (ECF No. 117 here) is literally the very same document

 as the Texas case’s live complaint (ECF No. 117 there). The Fifth Circuit rightly

 held that these claims belong in Texas and another return request has been issued.



 1 Consolidation did not deprive either action of its separate identity because “actions do not lose
 their separate identity because of consolidation,” 9A Charles Alan Wright & Arthur R. Miller, et
 al., Federal Practice & Procedure § 2382 (3d ed. West 2022), and administrative closures have no
 real legal consequence, see Penn W. Assocs. v. Cohen, 371 F.3d 118, 121 (3d Cir. 2004).

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                                   ARGUMENT

 I.    The Fifth Circuit’s new return request should be granted expeditiously.

       The Court has now received not just one but two separate requests to return

 this case to the court where it began and belongs: the Western District of Texas. The

 latest request comes directly from the Fifth Circuit and should be granted.

       The first return request came from Judge Pitman of Western District of Texas,

 who had been mandated to make the request by Defense Distributed v. Bruck, 30

 F.4th 414 (5th Cir. Apr. 1, 2022). Judge Pitman fulfilled Bruck’s mandate by issuing

 an order (1) vacating the sever-and-transfer order that had erroneously sent the case

 here, and (2) requesting return of the instant case to the Western District of Texas.

 Case No. 3:21-cv-9867, ECF No. 167. This Court’s denial of that request is the

 subject of a motion for reconsideration. See Case No. 3:21-cv-9867, ECF No. 61.

       The new return request comes from Judges Ho and Elrod of the Fifth Circuit

 in Defense Distributed v. Platkin, No. 22-50669 (5th Cir.). That appeal grapples

 with the impact of Bruck’s mandated vacatur and retransfer request. On September

 16, 2022, the Fifth Circuit in Platkin issued a per curiam order addressing several

 appellate motions and expediting the appeal. Defense Distributed v. Platkin, No.

 22-50669, 2022 WL 4285546 (5th Cir. Sept. 16, 2022). Issued in conjunction with

 that decision was an opinion authored by Judge Ho and joined by Judge Elrod. Id.




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 at *1-2. This opinion concurs with the per curiam decision and expressly requests

 that this Court return the instant action to the Western District of Texas:

             In Defense Distributed v. Bruck, 30 F.4th 414 (5th Cir. 2022), we
       held that the Western District of Texas was wrong to sever the case
       against the Attorney General of New Jersey and transfer it to the
       District of New Jersey. Our decision was accompanied by a
       well-reasoned dissent from a distinguished colleague. But it is now the
       law of the circuit as well as the case.

              We can think of no substantive reason—and none has been
       offered to us—why this case should nevertheless proceed in New Jersey
       rather than Texas, other than disagreement with our decision in Defense
       Distributed. The Attorney General of New Jersey confirmed as much
       during oral argument.

              So we respectfully ask the District of New Jersey to honor our
       decision in Defense Distributed and grant the request to return the
       case back to the Western District of Texas—consistent with the
       judiciary’s longstanding tradition of comity, both within and across the
       circuits, as repeatedly demonstrated by district courts nationwide.

              Federal courts across America have repeatedly granted requests
       to return cases back to the original transferring court, whether the
       request comes from a fellow Article III court or even from a litigant.
       Examples of such judicial courtesy include, but are far from limited to,
       federal courts governing New Jersey and Texas. See, e.g., In re United
       States, 273 F.3d 380, 382 n.1 (3rd Cir. 2001) (“We are most
       appreciative of Judge Campbell’s accommodation, which enabled this
       court to consider the matter and prevented an unseemly tension between
       federal jurisdictions.”); CCA Glob. Partners, Inc. v. Yates Carpet, Inc.,
       2005 WL 8159381, *2 (N.D. Tex. 2005) (“This Court will not stand in
       the way of another district court attempting to correct what it believes
       to have been an error made while the case was under its jurisdiction.
       Thus, this Court finds that in the interest of justice, the case should be
       transferred back to the Eastern District of Missouri.”).




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             This tradition of inter-circuit courtesy should surprise no one.
       After all, it’s an easy tradition to respect. These cases originated
       elsewhere, and only ended up in the transferee court as a result of
       mistake. So the act of courtesy costs the transferee court nothing. In
       sum, there’s every reason in the world for district courts across the
       country to avoid, as the Third Circuit has put it, “unseemly tension
       between federal jurisdictions.” In re United States, 273 F.3d at 382 n.1.

              So we’re unsurprised that such courtesy appears to be routine
       practice in district courts nationwide. In fact, we’re unaware of any
       district court anywhere in the nation to have ever denied such a request.
       The parties admit they have not found any. We see no reason why this
       case should be the first.
                                           * * *
              We respectfully ask the District of New Jersey to return the
       case to the Western District of Texas as requested, and thereby join
       its sister district courts nationwide in this act of inter-district
       comity, mutual respect, and courtesy.

 Id. (emphasis added) (footnote omitted).

       Plaintiffs move for an order granting this return request. The new return

 request should be granted for the same reasons that the initial return request should

 be granted. Furthermore, the new request should be granted because of three key

 points established by the new Platkin opinion of Judges Ho and Elrod.

       A.     The AG’s position rests entirely on defying Bruck.

       First, the new Platkin opinion further establishes that the AG’s disagreement

 with Bruck is his sole reason for opposing retransfer. New Jersey’s Solicitor General

 presented last week’s oral argument at the Fifth Circuit and gave no other reason.

 So the Platkin opinion rightly reached this conclusion: “We can think of no

 substantive reason—and none has been offered to us—why this case should
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 nevertheless proceed in New Jersey rather than Texas, other than disagreement with

 our decision in Defense Distributed [v. Bruck]. The Attorney General of New Jersey

 confirmed as much during oral argument.” Platkin, 2022 WL 4285546, at *2.

       B.     Comity principles warrant retransfer.

       Second, the new Platkin opinion further establishes that the case should be

 returned to Texas because of how comity principles compel deference to Bruck.

 Plaintiffs have argued this all along. See, e.g., Case No. 3:19-cv-04753-FLW-TJB,

 ECF No. 54 at 1-3. The new Platkin opinion confirms that following Bruck to order

 retransfer is “consistent with the judiciary’s longstanding tradition of comity, both

 within and across the circuits, as repeatedly demonstrated by district courts

 nationwide.” Platkin, 2022 WL 4285546, at *1 (emphasis added).

       C.     Law-of-the-case principles warrant retransfer.

       Third, the new Platkin opinion further establishes that the case should be

 returned to Texas because Bruck is law of the case. Alongside comity, Plaintiffs

 have also argued all along that law-of-the-case principles warrant retransfer. See,

 e.g., Case No. 3:19-cv-04753-FLW-TJB, ECF No. 54 at 1-3. The new Platkin

 opinion confirms this by expressly concluding that the Bruck majority opinion is

 indeed “law of the case”: “Our decision was accompanied by a well reasoned dissent

 from a distinguished colleague. But it is now the law of the circuit as well as the

 case.” Platkin, 2022 WL 4285546, at *1 (emphasis added).


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       D.     Expedited treatment is warranted.

       Plaintiffs request expedited treatment of this motion because the AG

 continues to inflict irreparable harm with every passing day. See, e.g., ECF No. 117

 at 47-49. The sooner proceedings against the AG resume in the Western District of

 Texas, the sooner his blatantly unconstitutional censorship regime can be halted. His

 gamesmanship has delayed relief far too long already.

                                  CONCLUSION

       The Court should grant both of the return requests and transfer this case back

 to the Western District of Texas immediately.



  Date: September 21, 2022.                 Respectfully submitted,

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